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 7   MARCELLE BANAGA
 8                                UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10

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12                                                         CASE NO.: 2:15-CR-00235-TLN
      UNITED STATES OF AMERICA
13
            PLAINTIFF                                      STIPULATION TO CONTINUE
14                                                         JUDGMENT AND SENTENCING
15                                                         HEARING; PROPOSED ORDER

16     MARCELLE BANAGA
17                       DEFENDANT
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21                                          I.      STIPULATION
22   Defendant Marcelle Banaga by and through his counsel of record and plaintiff United States of

23   America, by and through its counsel of record hereby stipulate as follows:

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            1. By previous order, the judgment and sentencing hearing for Mr. Banaga is currently set for
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     April 23rd, 2020.
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28   STIPULATION TO CONTINUE
     JUDGEMENT AND SENTENCING, ORDER
              Case 2:15-cr-00235-TLN Document 382 Filed 04/17/20 Page 2 of 3


 1          2. By this stipulation, the parties jointly request that the judgment and sentencing hearing in
 2   this matter be continued to May 28th, 2020 at 9:30 a.m., and that the dates for preparation of the

 3   sentencing memoranda be reset based on the sentencing date of May 28th, 2020.

 4
            3. The continuance request is due to the need for additional time to gather information
 5
     relevant to the sentencing from Romania.
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 8          Dated: April 16, 2020

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                                                                    /s/ Alin D. Cintean
10                                                                  Alin D. Cintean
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13                                                                  /s/ Michael M. Beckwith
                                                                    Michael M. Beckwith
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28   STIPULATION TO CONTINUE
     JUDGEMENT AND SENTENCING, ORDER
               Case 2:15-cr-00235-TLN Document 382 Filed 04/17/20 Page 3 of 3


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                                                     ORDER
 3   This matter came before the Court on the parties' stipulation to request a continuance of the judgment and
 4   sentencing hearing for defendant Marcelle Banaga. For the reasons stated above, and good cause
     showing, the Court GRANTS the parties' request and CONTINUES the judgment and sentencing hearing
 5
     to May 28, 2020 at 9:30 a.m. The dates for the preparation of the sentencing memoranda are RESET
 6
     based on the sentencing date of May 28, 2020.
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 9   IT IS SO FOUND AND ORDERED this 16th day of April, 2020.

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                                                                 Troy L. Nunley
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                                                                 United States District Judge
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28   STIPULATION TO CONTINUE
     JUDGEMENT AND SENTENCING, ORDER
